                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              COLUMBIA DIVISION

UNITED STATES OF AMERICA                              )
                                                      )
                                                      )
v.                                                    )      Criminal No. 1:12-00001
                                                      )      Judge Trauger
JIKINTE LASHANE MORRIS and                            )
WAYNE HAMPTON, JR.                                    )

                                            ORDER

        A status conference was held in this case on August 31, 2012. It is hereby ORDERED

that the plea deadline for these two defendants to notify the government that they are pleading

guilty is Friday, September 7, 2012, at 5:00 p.m. By separate order, the trial of this case is being

reset from September 11, 2012 to September 18, 2012.

        It is so ORDERED.

        ENTER this 31st day of August 2012.




                                                      ________________________________
                                                            ALETA A. TRAUGER
                                                              U.S. District Judge




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